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FOR THE wEsTERN DISTRICT or TENNESSEE USAUG-Z PM 2=30
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PAUL FARNSWORTH a/k/a
RONNIE BRADFIELD,

Plaintiff,
vs. No. O3-2950-B/V
EDWARD BAXTER,

Defendant.

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ORDER DENYING MO'I'ION 'I'O AMEND

 

On. March 17, 2005, plaintiff Paul Farnsworth, a/k/a
Ronnie Bradfield, Tennessee Department of Correction prisoner
number 219625, who is currently' incarcerated at the Northwest
Correctional Complex {“NWCX") in Tiptonville, Tennessee, filed a
motion seeking leave to amend or supplement his claim to assert
claims against NWCX Assistant Warden Brenda Jones, NWCX Chaplain
Kirk Gross, and Tony Parker (who the motion incorrectly identifies
as “Toney Parker”), the warden at the NWCX. The defendant has not
responded. to this motion, and the time set for response has
expired.

The proposed amendment asserts that defendants Jones,
Gross, and Parker have discriminated against the plaintiff’s
Messianic Jewish religion during his incarceration at the NWCX by

failing to schedule services, failing to provide an appropriate

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with Rule 58 and/or 79(&1) FRCP on /

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diet, failing to provide him with unspecified religious materials.
He seeks injunctive relief and compensatory and punitive damages.

The proposed amendment is inappropriate for three
reasons. First, the deadline for amending pleadings was February
15, 2005. Plaintiff has not explained his failure to submit the
proposed amendment by the deadline, and he has not filed a motion
seeking to extend the deadline.

Second, the plaintiff has not demonstrated that he
exhausted his administrative remedies with respect to these new
Claims and defendants. The Sixth Circuit has held that 42 U.S.C. §
1997e(a) requires a federal court to dismiss a complaint without
prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative
remedies. Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see
Porter v. Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's
exhaustion requirement applies to all inmate suits about prison
life, whether they involve general circumstances or particular
episodes, and whether they allege excessive force or some other
wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking
only money damages must exhaust administrative remedies although
damages are unavailable through grievance system). This requirement
places an affirmative burden on prisoners of pleading particular

facts demonstrating the complete exhaustion of claims. Knuckles El

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v. Toombs, 215 F.Bd 640, 642 (6th Cir. 2000). To comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted.by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
lg; at 642; see also BOVd v. Corrections Corp. of Am., 380 F.3d
989, 985-96 (6th Cir. 2004) (describing the standard for
demonstrating exhaustion when prison officials fail to respond in
a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who
fails to allege exhaustion adequately may not amend his complaint to
avoid a sua sponte dismissal); Curry v. Scott, 249 F.3d 493, 503-04
(6th Cir. 2001) (no abuse of discretion for district court to
dismiss for failure to exhaust when. plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997(e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust these remedies during the pendency
of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th Cir.
1999). Finally, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42
U.S.C. § 1997e(a), that contains any unexhausted claims. Jones Bey
v. Johnson, 407 F.Bd 801, 805-09 (6th Cir. 2005).

In this case, the complaint is silent concerning any

efforts by this plaintiff to exhaust the proposed claims against

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the new defendants. Accordingly, the proposed amendment does not
satisfy the requirements of 42 U.S.C. § 1997e(a).

Even if that were not the case, this action had been
pending sixteen months when this latest motion was filed,
plaintiff’s summary judgment notion had been pending for five
months (although the defendant's response had been deferred and was
not yet due), and the plaintiff was complaining about the delay in
adjudicating his claim. Under these circumstances, it would not
further judicial economy to permit this plaintiff to amend his
complaint to commence what is, in essence, an entirely new lawsuit
against persons employed at his current prison even though the
cause of action is identical to that asserted in the original
complaint.

For all the foregoing reasons, the motion to amend is
DENIED.

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iT Is so oRDERED this { day cf August, 2005.

 

. ANIEL BREEN
I ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 90 in
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Honorable J. Breen
US DISTRICT COURT

